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    Case 3:18-cv-00749 Document    50-2 Filed 02/15/19 Page 4 of 6 PageID #: 443
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    Case 3:18-cv-00749 Document    50-2 Filed 02/15/19 Page 5 of 6 PageID #: 444
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From:             Mills, Paige
To:               Sam Miller; A. Grace Van Dyke James
Cc:               McClanahan, Teresa
Subject:          RE: GFE/Anthem: Second Set of Discovery Requests
Date:             Thursday, January 17, 2019 7:54:51 PM
Attachments:      Anthem000001 to 000006.pdf
                  ANTHEM00007.pdf


Sam and Grace,




                           I have documents that are responsive to Requests 13 – 14 but they are
contracts with third parties that contain confidentiality provisions that I cannot share. I can only
produce them pursuant to a court order.




Thanks,

Paige




Paige Mills
Member

Bass, Berry & Sims PLC
150 Third Avenue South, Suite 2800 • Nashville, TN 37201
615-742-7770 phone • 615-742-0429 fax
pmills@bassberry.com • www.bassberry.com


From: Sam Miller <smiller@millerlegalpartners.com>
Sent: Tuesday, January 15, 2019 4:43 PM
To: Mills, Paige <PMills@bassberry.com>; A. Grace Van Dyke James
<gjames@millerlegalpartners.com>
Cc: McClanahan, Teresa <TMcClanahan@bassberry.com>
Subject: RE: GFE/Anthem: Second Set of Discovery Requests

Hi Paige –

When are we going to get actual documents produced to us? If we cannot get a date certain by
tomorrow, I’d like to set up a meet and confer for Friday.



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